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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                               Office of the Clerk
        United States Courthouse
                                                                              Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                              www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
August 30, 2023

                                                     Before
                                     DIANE S. SYKES, Chief Judge
                                     JOEL M. FLAUM, Circuit Judge
                                     MICHAEL B. BRENNAN, Circuit Judge

                                     FEDERAL TRADE COMMISSION,
                                              Plaintiff - Appellee

No. 21-2945                          v.

                                     CREDIT BUREAU CENTER, LLC, and MICHAEL BROWN,
                                              Defendants - Appellants
Originating Case Information:
District Court No: 1:17-cv-00194
Northern District of Illinois, Eastern Division
District Judge Matthew F. Kennelly


We modify part IX.D of the amended judgment to remove this sentence: “Any money not used
for such equitable relief is to be deposited to the U.S. Treasury as disgorgement.” As modified,
the judgment is AFFIRMED. The above is in accordance with the decision of this court entered
on this date. No award of costs.




                                                                     Clerk of Court

form name: c7_FinalJudgment        (form ID: 132)
